Case 2:02-cr-20041-SH|\/| Document 342 Filed 06/23/05 Page 1 of 2 Page|D 453

  

IN THE uNITED STATES DISTRICT coURT '~"¢'
FoR THE wESTERN DISTRICT oF TENNESSEE 05 JUN `
WESTERN DIVISION 23 PH J- us

 

 

UNITED STATES OF AMERICA
VS. CR. NO. 02-2004l-Ma
TYRONE JONES,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIF`YING PERIOD OF EXCLUDABLE DELAY

 

Before the court is defendant's June 22, 2005, motion
requesting continuance of the report date set June 24, 2005. The
continuance is necessary to allow for additional preparation in the
case.

The Court grants the motion and continues the trial date to
August l, 2005, at 9:30 a.m. With a report date of July 22, 2005,
at 2:00 p.m.

The period from July 15, 2005, through August 12, 2005, is
excluded under 18 U}S.C. § 316l(h)(8)(B)(iv) to allow defense
counsel additional time to prepare.

IT IS SO ORDERED this the 13°4 day of June, 2005.

y//»w;._.__

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

Thfs document entered on the docket sheet In com liance
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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 342 in
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Honorable Samuel Mays
US DISTRICT COURT

